Case 8:11-cr-00323-JSM-TBM Document 826 Filed 09/09/15 Page 1 of 2 PageID 4940


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                    CASE NO. 8:11-CR-323-T-17-TBM


 MICHAEL MCBROOM
                                            /
                                                ORDER

         This cause comes before the Court on the defendant’s motion for reduction of sentence,
 the requested modification was based on the retroactive application of revised cocaine base
 sentencing guidelines (Doc. 822) filed by the Federal Public Defender. The Court also has
 before it the U.S. Probation Office Amendment Assessment (Doc. 805) and the government’s
 response (Doc. 823). The Court has reviewed the motion, the Amended Assessment for the
 United States Probation Office, and the response to the motion by the government. The Court
 concludes that the defendant is not eligible for a reduction in sentence based on the amended
 guidelines and adopts the position of the Probation Office and the government that “Due to the
 reduction of the base offense level from 32 to 30, the two-level reduction at USSG §2D1.1(a)(5)
 is no longer applicable. As a result, Amendment 782 does not have the effect of lowering the
 defendant’s applicable guideline range and a reduction is not authorized. USSG
 §1B1.10(a)(2)(B).” Accordingly, it is.


         ORDERED that defendant’s motion for modification of sentence be denied.


         DONE AND ORDERED in Chambers in Tampa, Florida this 9th day of September,
 2015.
Case 8:11-cr-00323-JSM-TBM Document 826 Filed 09/09/15 Page 2 of 2 PageID 4941




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